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                          UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF SOUTH CAROLINA

                                GREENVILLE DIVISION


    UNITED STATES OF AMERICA,     ) April 29, 2019
                                  )
                   Plaintiff,     ) Greenville, SC
                                  )
                                  )
              vs.                 )
                                  )
    DONALD NATHANIEL THOMAS, JR., ) Case no(s).:8:19cr181-DCC-2
                                  )
                   Defendant.     )


                     TRANSCRIPT OF DETENTION/BOND HEARING

               BEFORE THE HONORABLE JUDGE JACQUELYN D. AUSTIN
                 UNITED STATES MAGISTRATE JUDGE, presiding


    A P P E A R A N C E S:

    For the Plaintiff:       LEESA WASHINGTON, Esquire
                             US Attorneys Office
                             55 Beattie Place, Suite 700
                             Greenville, SC 29601


    For Defendant:           CLARENCE RAUCH WISE, Esquire
                             305 Main Street
                             Greenwood, SC 29646-2757


    Court Reporter:          Teresa B. Johnson, CVR-M-CM, RVR, RVR-M
                             300 E. Washington Street, Room 304
                             Greenville, SC 29601




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 1                             P R O C E E D I N G S

 2        (Proceedings began at 11:16 a.m.)
 3              THE COURT:       Yes, ma'am.

 4              MS. WASHINGTON:           Your Honor, the next case is United

 5   States of America versus Donald Thomas, Junior. It’s docket

 6   Number 8:19-181. Mr. Thomas is present in the courtroom, and

 7   he’s represented by Rauch Wise.

 8              THE COURT:       Okay.

 9              MS. WASHINGTON:           Judge, on February 26, Mr. Thomas

10   and others were arrested on an indictment issued out of this

11   district. At that time, the defendant appeared before

12   Your Honor. The government moved for detention. At the time,

13   Mr. Thomas waived detention. It's my understanding that

14   Mr. Thomas filed a motion for bond on April 23. The government

15   maintains its position that Mr. Thomas should be detained

16   pending trial.

17              I’ve spoken with Mr. Wise this morning. It's the

18   government's intention to proffer the government's evidence as

19   to detention. I don't think Mr. Wise has an objection. The case

20   agent is here, Special Agent Randy Smith, and he will be made

21   available for cross-examination, if need be.

22              THE COURT:       Okay. Mr. Wise, are -- do you have any

23   objection to the government proffering their evidence this

24   morning?

25              MR. WISE:       That's -- that’s fine, Your Honor.
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 1              THE COURT:       Okay. And you're prepared to go forward

 2   this morning, as well?

 3              MR. WISE:       Yes, ma’am.

 4              THE COURT:       Okay. I’ll have the government go ahead

 5   and put their evidence on the record ---

 6              MS. WASHINGTON:           Your Honor ---

 7              THE COURT:       --- supporting detention.

 8              MS. WASHINGTON:           --- the government understands that

 9   Your Honor has presided over a number of hearings in this case

10   and has viewed several search warrant applications, so I’ll try

11   to be as brief as possible. But just for background, on

12   February 19, Mr. Thomas and 11 others were charged in a

13   multi-count indictment as it relates to -- specifically as to

14   detention and the presumption that applies in this particular

15   case. Mister -- a grand jury found probable cause that

16   Mr. Thomas and others committed the offense of conspiracy with

17   intent -- conspiracy to possession with intent heroin, cocaine,

18   and fentanyl. The grand jury also found probable cause as to

19   Count 2 which charges conspiracy to import the same drugs. The

20   grand jury also found probable cause as to Count 6 of the

21   indictment which charges a violation of Title 18, that is,

22   Title 18, United States Code, Section 924(c), possession of a

23   firearm in connection -- or in furtherance of a drug

24   trafficking crime.

25              Your Honor, this investigation began as early as 2016
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 1   locally by Greenwood Police Department and Greenwood County

 2   Sheriff's Office. DEA and FBI became involved later. The

 3   investigation was initiated based on the increased number of

 4   opioid -- particularly fentanyl -- related overdoses and

 5   deaths. As a matter of fact, since 2017, the coroner in

 6   Greenwood County confirmed there were 23 fentanyl-related

 7   overdoses in Greenwood County, since 2017.

 8              Turns out that in September, on September 26, 2018,

 9   DEA office in Las Cruces, New Mexico, contacted DEA in this

10   district and reported that an individual, a Jamaal Latimer, had

11   contacted a source of theirs, a cooperating source, whom he

12   believed resided in Mexico, looking to purchase a significant

13   quantity of heroin and cocaine, 10 kilograms of heroin and 10

14   kilograms of cocaine. DEA in New Mexico forwarded that

15   information, or contacted the office here, inquired about the

16   legit -- legitimacy of the ability, first of all, to buy that

17   amount of drugs, the identity of the -- of Latimer and the

18   others who were looking for that amount of drugs.

19              A decision was made to follow up on the inquiry. DEA

20   in New Mexico contacted Mr. Latimer and scheduled a visit to

21   meet with him in El Paso to hammer out the details.

22   Surprisingly, Mr. Latimer actually boarded a flight from

23   Atlanta on October 2, 2018, along with another individual whom

24   the government does not believe was intricately involved in the

25   conspiracy, to meet with these agents. At the time,
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 1   Mr. Latimer, of course, believed that he was meeting with a

 2   source out of Mexico; did not know that he was actually talking

 3   to and going to be meeting with undercover DEA agents.

 4              On October 2, 2018, Mr. Latimer and another

 5   individual drove to Atlanta from the Upstate of South Carolina

 6   to board a flight from Atlanta to El Paso. According to bank

 7   records, Mr. Thomas's bank records, Mr. Thomas -- Mr. Thomas's

 8   credit card was used to pay for both tickets. Each ticket was

 9   about $950.

10              Once Mr. Latimer made it to El Paso and met with the

11   agents, the agents arranged a recorded meeting with

12   Mr. Latimer. During that recorded meeting, Mr. Latimer told the

13   agents that he was in business, the drug business, that is,

14   with individuals in South Carolina. He described those

15   individuals as being in the nightclub and car sales business.

16   Mr. Thomas is actually in -- or purports to be a used car

17   salesman. He owns his own business in the Greenwood -- in

18   Greenwood County.

19              Mr. Latimer also told the agents -- unbeknownst to

20   Mr. Latimer at the time he was being recorded and was actually

21   meeting with law enforcement -- that the organization's

22   previous supplier had proven not to be reliable and they were

23   looking for another source. Mr. Latimer, during that recorded

24   meeting, contacted Mr. Thomas via FaceTime, and talked to

25   Mr. Thomas about how the meeting was going and that he had made
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                                                                            6



 1   it to El Paso.

 2               Mr. Latimer also told the agents during the recorded

 3   meeting that his organization, including Mr. Thomas,

 4   manufactured heroin pills out of the drugs that they received.

 5   In other words, they would receive heroin in powder form and

 6   would convert it to pill form using a pill press. Mr. Latimer

 7   said that the car business -- the car lot -- the used car and

 8   the nightclub business, which was, at that time, purportedly

 9   owned and ran by Detric McGowan, who is the lead defendant in

10   this case, was used -- were used -- both of those businesses

11   were used as a front for their drug trafficking business.

12   Mr. Latimer specified that he wanted 10 kilograms of cocaine;

13   and the 10 kilograms of heroin, he specified that it be China

14   White heroin, meaning that he wanted it to be cut with

15   fentanyl.

16               Mr. Latimer, during that meeting, described

17   Mr. Thomas as his brother. Don't know if there's a familial

18   relationship, but that’s how he, at that time at least,

19   described Mr. Latimer. Mr. Latimer told the agents that he was

20   -- that their -- the way they operated was that they used the

21   club to sell some of the drugs and that they -- he was

22   specifically requesting fentanyl and wanted to know how much

23   cut or additive could be added to the fentanyl so the China

24   White heroin to be supplied by the El Paso organization, or the

25   organization he believed was -- he was meeting with in El Paso,
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 1   how much cut or additive could be used in addition to -- how

 2   much cut or additive could be added to the powder substance

 3   that he was to be receiving from this organization. Cut is an

 4   additive usually -- generally used by drug traffickers to

 5   increase the volume, thereby increasing the traffic margin for

 6   folks who sell drugs. Mr. Latimer stayed in El Paso for maybe

 7   two days tops.

 8              Afterwards, he came back to South Carolina but

 9   continued to be in touch with the agents -- the undercover

10   agents in El Paso, and eventually arranged for the transaction,

11   that is, for the 10 kilos of coke and the 10 kilos of China

12   White heroin to be delivered to Greenville on October 23, 2018.

13   During -- between the time Mr. Latimer arrived back in

14   Greenville and October 23, 2018, there were numerous calls

15   between Mr. Latimer and the individuals -- and the undercover

16   agents in El Paso concerning the transaction, discussing the

17   details, indicating his willingness and ability to carry out

18   the transaction. That being -- specifically, law enforcement

19   was concerned that this was not going to happen because he was

20   ordering a significant amount of drugs, number one; and number

21   two, the amount of money that he was to be -- that was to be

22   paid was about $760,000.

23              Lo and behold, on October 23, when the agents arrived

24   supposedly to deliver marijuana and cocaine, Mr. Latimer also

25   met with them. Mr. Latimer -- before the transaction was
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                                                                            8



 1   scheduled to occur on October 23 at an agreed upon location in

 2   Spartanburg County, the agents observed Mr. Latimer,

 3   Mr. Thomas, Mr. Cunningham, at a residence in Mauldin, South

 4   Carolina. They observed those individuals both entering the

 5   residence and leaving the residences -- residence -- actually,

 6   it was an apartment townhome -- with the duffel bags. It turned

 7   out later, during the traffic stop, that those duffel bags

 8   contained -- combined, contained over a million dollars.

 9              During the traffic stop, while Mr. Latimer and

10   Mr. Cunningham were en route to Spartanburg County to meet with

11   the undercover agents, the officers seized also from Mr. Thomas

12   in a separate vehicle, a van driven by Mr. Thomas,

13   approximately $248,000, along with a loaded shotgun. Mr. Thomas

14   was the only individual, at that time, inside the van. Minutes

15   earlier, the officer had seized about $758,000 from a vehicle

16   being driven by Mr. Cunningham. Mr. Cunningham was following

17   Mr. Latimer to the meet location in Spartanburg County.

18              As the officers pulled Mr. Thomas's vehicle over on

19   Interstate 85 and engaged him in the conversation, Mr. Thomas

20   initially told the officers that the money was to be used to

21   buy inventory for his used car business. Minutes later,

22   Mr. Thomas's then girlfriend, Shequita Holloway, who was also

23   charged in the indictment, arrived and explained to agents that

24   the money was also going to be used to buy a house. They seemed

25   to have conflicting stories about the purpose of the money. And
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                                                                            9



 1   at that time, the agents already knew what the purpose was.

 2   Nevertheless, Mr. Thomas and Ms. Shequita Holloway continued to

 3   lie to the agents about the purpose and source of the cash.

 4   That conversation with the law enforcement on the side of

 5   Interstate 85, on October 23, is the basis of a charge in the

 6   indictment that is in violation of 18 U.S.C. 1001, lying to

 7   federal agents.

 8              Mr. Thomas, apparently prepared to continue in the

 9   lie, on December 28, contacted law enforcement through a lawyer

10   and asserted that -- to make a claim for the money that was

11   seized on October 23. That claim didn’t, of course, go

12   anywhere, but apparently Mr. Thomas was prepared to persist in

13   the lie that the money was legitimately earned and was not to

14   be used to facilitate a drug transaction.

15              Judge, Mr. Latimer was -- all of these individuals

16   were eventually arrested in February of this year. Mr. Latimer

17   agreed, pursuant to a proffer, to be interviewed by law

18   enforcement. He was in March, on March 8 and March 14.

19   Mr. Latimer told the agents during those sessions and that the

20   drug -- the drug business that he was in was -- involved

21   Mr. Thomas, Mr. McGowan and others. Mr. Latimer told agents

22   that beginning around December 2017, at Mr. Thomas's direction,

23   that he cut four kilograms of heroin and repackaged it, which

24   yielded, once cutting it -- unpackaging it, cutting it with

25   whatever additive he decided to use that particular day,
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 1   resulted in seven kilograms of heroin. The reason he did that

 2   -- and he did it at Mr. Thomas's direction, but the reason he

 3   did that was to increase the supply for Mr. McGowan who was, at

 4   the time, using the heroin to manufacture fentanyl pills, which

 5   was known to all involved.

 6                  Mr. Latimer told the agents that that lasted for at

 7   least up until August 2018 when they were -- when they started

 8   to run out and decided to approach law enforcement or

 9   individuals who later turned out to be law enforcement in El

10   Paso. Mr. Latimer told agents that he broke down heroin

11   supplied by Mr. Thomas from some source, out-of-state source,

12   at least four different times. So if he received four kilograms

13   of heroin at least four different times, the four kilograms on

14   at least four different times were converted to seven

15   kilograms. That amounts to about 28 kilograms of heroin from

16   December 2017 until mid-2018.

17                  Additionally, Judge, Mr. Latimer told the agents that

18   between the time of the seizure on October 23, 2018 and

19   January 2019, he supplied Mr. McGowan with four kilograms of

20   heroin; purposely did not let Mr. McGowan know that the source

21   of the four kilograms of heroin was Donald Thomas. Unbeknownst

22   to Mr. Latimer at that time, when he -- in March -- when I say

23   at that time, in March when he was telling the agents about the

24   historical trafficking -- drug trafficking he did with

25   Mr. Thomas, Mr. Latimer was not aware that he had been captured
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 1   on a wiretap in -- beginning in December through

 2   mid-February 2019.

 3                  Once Mr. Latimer told agents that he supplied four

 4   kilograms of heroin to Mr. McGowan, sourced by Mr. Thomas, the

 5   agents went back and reviewed some of the phone calls

 6   intercepted over the wiretaps, that -- one beginning in the end

 7   of December 2018 and the other February 2019 -- and discovered

 8   multiple calls during which Mr. Latimer and Mr. McGowan and

 9   Mr. Latimer and others discussed the transaction that he

10   conducted with Mr. McGowan with heroin sourced from Mr. Thomas.

11   Consistent with what folks involved in this business generally

12   do, according to Mr. Latimer, the purpose for not telling

13   Mr. McGowan the source of the dope: number one, apparently,

14   after the October 23 seizure, there had been a falling out

15   amongst the members of the group; secondly, Mr. Latimer is, of

16   course, willing to accept any new customers and had he told

17   Mr. McGowan that the four kilograms were supplied by

18   Mr. Thomas, Mr. Latimer would no longer be useful. He couldn’t

19   make any money. According to Mr. Latimer, that four kilos sold

20   for about -- he charged Mr. McGowan about $198,000 for the

21   four.

22                  I mentioned a wiretap. The wiretap on Mr. Latimer's

23   phone ran for a very short time, primarily because during the

24   wiretap on Mr. Latimer's phone -- which was the very first one

25   -- Mr. Latimer learned that an individual in North Carolina had
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                                                                               12



 1   been arrested with dope that had been directly provided to that

 2   individual, Deondre Miles, by Mr. Latimer. It turns out that

 3   the 900 grams of fentanyl pills that Mr. Latimer supplied to

 4   Mr. Miles in Charlotte on December 18, 2018 were supplied by

 5   Mr. McGowan. When Mr. McGowan learned of Mr. Miles’s arrest,

 6   Mr. McGowan informed Mr. Latimer, and that caused Mr. Latimer

 7   to drop his phone.

 8                  Prior to dropping his phone though, the agent

 9   intercepted calls between Mr. McGowan and Mr. Latimer during

10   which the two discussed this individual, Mr. Miles. Mr. Latimer

11   told Mr. Miles -- again, unbeknownst to him that he was being

12   recorded -- that Mr. Miles was Thomas’s customer, another

13   customer that he'd apparently tried to steal from Mr. Thomas;

14   told Mr. McGowan that he had only dealt with him twice. Prior

15   to his dealings with Mr. -- according to Latimer, prior to his

16   dealings with Mr. Miles in November 2018 and December 2018,

17   Mr. Miles was supplied by Mr. Thomas.

18                  Mr. Latimer knew Mr. Miles because Mr. Thomas

19   directed Mr. Latimer to deliver cocaine to Mr. Miles in North

20   Carolina multiple times. Not only does Mr. Miles say -- does

21   Mr. Latimer say that Mr. Thomas supplied Mr. Miles, but when

22   Mr. Miles was arrested by law enforcement in North Carolina, he

23   identified Mr. Latimer as “TJ's boy.” According to Mr. Latimer,

24   he made multiple trips to North Carolina at Mr. Thomas’s

25   direction to deliver coke. He made at least two trips a month,
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 1   one to deliver the coke -- each time, at least two kilograms --

 2   and another trip to pick up the money, all at Mr. Thomas's

 3   direction. According to Mr. Latimer, that began in -- early in

 4   2017 and he made no more than 10 trips to North Carolina for

 5   Mr. Thomas, to deliver cocaine to Mr. Miles.

 6                  In addition, Judge, in addition to the 28 kilograms

 7   that Mr. Latimer admits to pressing at Mr. Thomas's direction

 8   for sale to Mr. McGowan, in addition to the cocaine that

 9   Mr. Latimer admits and Mr. Miles confirms was supplied by

10   Mr. Thomas through -- by Mr. Latimer to him in North Carolina,

11   the organization was also responsible for manufacturing and

12   distributing heroin pills. In January -- on January 28th of

13   this month -- of this year, the agents intercepted calls

14   between Mr. McGowan and an individual in North Carolina during

15   which the two discussed a transaction that was to occur in

16   Columbia.

17                  That transaction indeed did occur. Law enforcement

18   set up surveillance and watched it occur. After the

19   transaction, Mr. Lopez, Danny Lopez, out of Fayetteville, North

20   Carolina was arrested; when the officers found out about a

21   kilogram and a half of heroin pills.

22                  On February 26, Judge, Mr. Thomas and the others were

23   arrested. At the time Mr. Thomas was arrested, he was found in

24   possession with about $47,000. That's in addition to the

25   $250,000, or approximately $250,000, that was taken directly
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 1   from him on October 23 and the $760,000 of which he pulled

 2   money to purchase the 10 kilograms of cocaine and heroin. The

 3   government has reviewed Mr. Thomas's tax returns for the

 4   relevant years. For 2016 or 2017, Mr. Thomas reported an income

 5   of about $35,000 combined, which corroborates Mr. Latimer’s

 6   statements to law enforcement in El Paso when he said that the

 7   car lot business and the nightclub business were used as fronts

 8   for drug trafficking.

 9                  In addition, Judge, law enforcement seized, from

10   Mr. McGowan's residence, an additional $500,000 and, from stash

11   houses used by Mister -- known to be used by Mr. McGowan and

12   Mr. Longshore -- another individual charged in Counts 1 and 2

13   of the indictment, along with Latimer and Thomas --

14   approximately 15 kilograms of heroin. Some of which was cut

15   with not fentanyl, but tramadol, which is an opioid painkiller

16   that mimics the effects of heroin. The officers also located a

17   detectable amount of fentanyl.

18                  Your Honor, in addition to the presumption, the

19   government relies on the Court's consideration of the evidence,

20   the strength of the evidence in the -- against this defendant

21   that the government has. I briefly ran through, hit the high

22   points, or at least I tried to. And the government believes

23   that it is likely that, if tried, Mr. Thomas would be convicted

24   as charged.

25                  The nature of the offense, Your Honor, is another
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 1   factor the Court is to consider. The offense here, Judge, is

 2   particularly serious because what we have here are people, like

 3   Mr. Thomas, supplying powder cocaine cut with various

 4   substances known to be used to manufacturer fentanyl pills by

 5   individuals with no pharmacological knowledge in a uncontrolled

 6   environment. There's no way to determine the dosage of each

 7   individual pills.

 8                  There were at least 15 -- about 15,000 pills of --

 9   heroin pills seized during the January 28 transaction. There

10   were at least 10,000 pills seized from Mr. Miles in

11   December 2018, in Charlotte, North Carolina. The agents seized

12   multiple kilograms of pressed pills during the February 26

13   arrest and -- execution of search and arrest warrants.

14   Certainly, while all drug offenses have the capacity to be

15   dangerous, the reasons or the purposes and the methods used by

16   this organization make the offenses charged in Count 1 and 2

17   particularly serious.

18                  As to Mr. Thomas, Judge, based solely on the drug

19   amounts involved, Mr. Thomas is likely -- while under the

20   statute, he's 10 to life on Count -- as to Count 1 and Count 2,

21   on Count 6, he's 5 to life for possession of a firearm in

22   furtherance of a drug offense under the statute, under the

23   guidelines, he’s likely 360 to life. He's at least a base

24   offense level 36, just based solely on the amount of drugs

25   involved. He’s likely to be attributed an enhancement for
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 1   leader organizer because it’s the government’s evidence that he

 2   was. He's also likely to receive an enhancement depending on

 3   how things shake out for possession of a firearm.

 4                  Judge, if -- the government realizes that Mr. Thomas

 5   is a lifelong resident of Greenwood County. He's most recently

 6   lived in Greenville County. To the extent that he is not

 7   otherwise a flight risk, anyone facing that amount of time

 8   certainly would have an incentive to flee.

 9                  In addition, Judge, the government believes that he’s

10   continually going to be a danger to the community unless he’s

11   locked up. Mr. Thomas's -- the best prediction of future

12   behavior is past behavior. After Mr. Thomas was interdicted by

13   law enforcement on October 23 -- 23, 2018, what’d he do? He

14   continued to deal drugs -- well, first of all, he lied to law

15   enforcement. Whether or not he knew that Mr. Latimer was

16   dealing with law enforcement in El Paso -- which they obviously

17   did not -- Mr. Thomas and the others knew that law enforcement

18   in Greenville County seized over $1 million from the group.

19   That didn't deter them. Mr. Thomas continued to deal drugs, and

20   that’s evidenced by Mr. Latimer's statements, and not only

21   Mr. Latimer’s statement, Judge, the wiretaps confirm that there

22   was at least one other transaction that Mr. Latimer,

23   Mr. McGowan and Mr. Thomas participated in after October 23. So

24   he continued to lie. He was prepared to continue to lie to law

25   enforcement by filing a petition to return the funds that were
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                                                                               17



 1   seized on October 23.

 2                  And secondly, Judge, Mr. Thomas appears to have no

 3   legitimate employment. As stated earlier, 2016 and 2017, he

 4   reported a combined income of about $35,000. He’s not relying

 5   on the car lot business to support himself. There's only one

 6   other way to earn money if you’re Mr. Thomas, and that is

 7   continue dealing drugs. If he is released, the government

 8   believes that that’s exactly what he’ll continue to do. Judge,

 9   the Fourth Circuit has found that continued drug distribution

10   is evidence of danger to the community. The government relies

11   on those three instances to support its position.

12                  Judge, that’s the government's presentation. I do --

13   as I said earlier, Special Agent Randy Smith, is present and is

14   available to answer any questions that Mr. Wise might have as

15   to the issue of detention.

16                  THE COURT:      Okay. Thank you very much.

17                  Mr. Wise?

18                  MR. WISE:     I’d like to ask Agent Smith a few

19   questions, not in any great length.

20                  THE COURT:      We'll have Agent come forward and be

21   sworn.

22                  THE CLERK:      Please state your full name for the

23   record, sir.

24                  MS. WASHINGTON:         Randy Smith.

25                                  AGENT RANDY SMITH
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 1         having first been duly sworn, testifies as follows:
 2                  THE WITNESS:      I do.
 3                  THE CLERK:      You may be seated.
 4                                  DIRECT EXAMINATION

 5   BY MR. WISE:

 6   Q     Mr. Smith, one of the key things y'all were looking for in

 7   this case was the pill press?

 8   A     Was that one of the key things we were --

 9   Q     I mean, that was an important item you wanted to recover.

10   A     It’s an item that would've been nice to recover, yes.

11   Q     Yeah. And that was turned in, I believe, by the lawyer for

12   Mr. McGowan?

13   A     There was a pill press that was turned in. Where --

14   there’s absolutely no way to confirm that was the actual pill

15   press that they were using.

16   Q     I understand that. I understand that. But a pill press was

17   turned in?

18   A     Yes, sir.

19   Q     And you had some indication through your surveillance that

20   the pill press was located on a piece of property on -- in the

21   Mountville, South Carolina, area.

22   A     Originally, yes. And it was moved.

23   Q     And did your surveillance ever have Mr. Thomas at that

24   house in the Mountville, South Carolina, area?

25   A     No.
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 1   Q     Now, the original deal was to -- not the original deal,

 2   but one of the things that precipitated this, was when

 3   Mr. Latimer contacted a DEA agent in New Mexico?

 4   A     Yes, sir.

 5   Q     All right. And it was Mr. Latimer that negotiated the

 6   price?

 7   A     Mr. Latimer flew to El Paso ---

 8   Q     Uh-huh.

 9   A     --- and while meeting with the two undercover agents, he

10   actually FaceTimed Mr. Thomas.

11   Q     Uh-huh.

12   A     So the prices were negotiated between Mr. Thomas Latimer

13   and the two undercover DEA agents in El Paso.

14   Q     And do you have a recording of that FaceTime? Or is it

15   just that FaceTime was done?

16   A     What we have with that is the telephone records that

17   indicate that call did occur between Mr. Thomas and Mr. Latimer

18   at the time that was in question. We also have the undercover

19   agents who identified Mr. Thomas as being the person that was

20   FaceTimed during the negotiations.

21   Q     Okay. All right. You don't have any information that

22   Mr. Thomas actually operated any press or anything like that?

23   A     No.

24   Q     Okay. Thank you.

25                  THE COURT:      Thank you. Anything further from the
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                                                                               20



 1   government?

 2                  MS. WASHINGTON:         No, Your Honor.

 3                  THE COURT:      Okay. Thank you.

 4                  THE WITNESS:      Thank you.

 5                  THE COURT:      Okay. Mr. Wise, I've already heard from

 6   the government on the elements of detention they feel have been

 7   met in this case, and I’ll hear from you.

 8                  MR. WISE:      All right. Your Honor, there is one count

 9   in the indictment that Ms. Washington didn't mention that we do

10   really have some serious dispute with, about Mr. Thomas

11   traveling in interstate commerce, but we’ll -- I mean, we can

12   deal with that later. I don’t -- he says he doesn't recall

13   traveling in this -- connection with this conspiracy.

14                  First of all, I would like to say this: Mr. Thomas

15   does not have his head in the clouds in this case. He

16   understands clearly the significance of the case, the

17   allegations against him, and what the government generally has

18   against him. Nothing that was said today was a great surprise,

19   maybe a little bit here and there. But the general guts of the

20   conspiracy, none of that was a surprise. He has signed a

21   proffer agreement with the government.

22                  I do take exception to one thing the government has

23   said in this case about Mr. Thomas. I've met with him a good

24   bit -- well, let me back up. First of all, I take exception

25   that Mr. Thomas lied to the government on December 28 when we
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 1   wrote a letter to the government about the money they seized.

 2   Because the letter clearly states to the government, “Tell us

 3   the basis for keeping it.” Obviously, they answered that

 4   question now. But he did not assert in that letter that this

 5   was all legitimately earned. But anyway, that's, you know,

 6   neither here nor there, because that money is gone and he has

 7   waived any right to it.

 8                  He does, in fact, have a legitimate business. I do

 9   not think the car business is a front for the drug business. I

10   think the car business is actually a very, very legitimate

11   business, totally independent of any alleged drug dealing he’s

12   been involved in. I’ll point out to the Court that in 2016, he

13   was employed with -- I believe with VELUX?

14                  THE DEFENDANT:          Yes.

15                  MR. WISE:     -- yes, VELUX, in the first half of the

16   year. He actually was working second shift at VELUX. He started

17   getting the idea of opening a car lot -- a car business. He

18   actually would go to a car dealer -- a body shop in the Ninety

19   Six area, learn how to paint cars for about three or four

20   months, before he opened up the car lot. He would do that in

21   the morning; go second shift to VELUX.

22                  His basic business plan in this operation was to take

23   damaged cars -- he has some experience with bodywork and that's

24   why he went to learn to paint -- fix them up and then resell

25   them. And he would make his profit from not only the car but,
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 1   you know, he would then get paid back for all the labor he

 2   spent doing it.

 3                  He also owned his own -- came -- learned how and

 4   developed on his own, a financing plan for customers where for

 5   the year -- according to the tax returns I have, for the year

 6   2017, there were some 18 automobiles that people were paying on

 7   by the month for him. So it's not like, you know, he's just out

 8   there pretending to be doing business. He was actually,

 9   seriously doing business at the car lot.

10                  For the year 2017, which was is the first full year

11   he operated the car lot, his income was about $27,000, after

12   expenses. And he anticipates that 2018 would be substantially

13   above that, but obviously has not filed the 2018 tax returns,

14   having been arrested in February of this year.

15                  He is a lifelong resident of Greenwood County. He

16   has, for all practical purposes, no -- I think he got arrested

17   on some stuff when he was 18 years of age. But I think even a

18   lot of that was dismissed. So really, he has no criminal

19   record, certainly no prior drug record at all.

20                  So he has five children that he supports. And he

21   proudly tells me that he is helping support his five children

22   and none of them have a court order requiring him to do it.

23   He's doing it on his own, voluntarily. His 16-year-old son

24   lives with him, to his credit.

25                  The tax returns I've seen tell me -- and I think the
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 1   government has the same ones. I showed them to them this

 2   morning -- confirmed that it shows that the car business is a

 3   legit business -- a legitimate business. I actually had to go

 4   to Spartanburg County jail with a power of attorney that

 5   allowed somebody to take over helping run the business while

 6   he’s incarcerated. I've never had to do that in a case in my

 7   life. The car lot that he owns is technically not owned by him,

 8   it is being -- he bought it from the owner with the option to

 9   purchase it. So it’s -- you know, financed by the owner. So he

10   does have that legitimate business.

11                  In discussing this matter with him, he tells me that

12   he has no need -- to run his business -- to go out of Greenwood

13   County. His house is located on Hitching Post Road, and the

14   business is literally within a quarter-mile of that location.

15   He says that if he needs to go buy a car out of the county, he

16   can get somebody to go do that. He would have no need to leave

17   Greenwood County.

18                  I’ve had some serious talks with him and I've had

19   some serious talks with his mother, who is here -- stand up

20   please. She’s here with many of his friends. As she told me, I

21   raised him better than this. And I believed her.

22                  He quit school in the 12th grade. Finally got his

23   GED. Why he quit? I don't know, because he has some good

24   intelligence. From my discussions with him, I just could not

25   see him remotely getting back involved in any drug transaction
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 1   whatsoever. He has authorized me to tell you that if you

 2   release him on bond and he flunks a drug test for any illegal

 3   drug, he'll just go turn himself in and let him be revoked

 4   because he -- I don't see a substance abuse problem in him,

 5   which is kind of contradictory in some sense with what he’s

 6   accused of, but that’s what the facts are.

 7                  I think if you allow him to get out on bond and do an

 8   ankle monitor on him, restrict him to Greenwood County, he

 9   would be able to get this business going -- I think he

10   understands he’s eventually going to jail. That’s not a -- he’s

11   not delusional about that -- but in able to get it going and

12   have some people to be able to operate it and carry it on.

13                  As I said, the business tax returns I've seen say it

14   is truly a very legitimate business. And I assume somebody

15   that’s involved in drugs -- there's no drug money, as I see,

16   funneled through the business. Because otherwise, he would have

17   the income of 100,000 dollars a year from this used car

18   business as kind of a money-laundering scheme, but I don't see

19   that at all in this case.

20                  I do think he understands his predicament. He

21   understands the situation he’s in. I just -- from my

22   conversations with him, I think I can honestly tell the Court

23   that I think the chances of his getting back into anything near

24   this is virtually nonexistent. And if he were a flight risk,

25   frankly, Your Honor, back in October 28 when he kind of -- or
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 1   23rd when he kind of figured out this gig may very well be up,

 2   he didn't flee, he didn't run, he didn’t go anywhere, he stayed

 3   right where he was until they arrested him in February. So I

 4   think the flight risk is very low.

 5                  He, certainly, you know, was not as active in

 6   traveling around as much as Mr. Latimer was and delivering

 7   drugs. And the nature -- the exact nature of his involvement

 8   we'll probably have to get into in some detail, but I think he

 9   is not a flight risk. I don't think he's going to be a danger

10   to the community at all. And certainly, with an ankle monitor,

11   you can restrict his movement to Greenwood County and that

12   would be more than sufficient for him to do what he needs to do

13   to, you know, support his family and get the business going to

14   where he would be able to have, you know, some hope of it

15   continuing after he goes to jail.

16                  THE COURT:      Thank you.

17                  MS. WASHINGTON:         Judge, just briefly, I believe

18   Your Honor knows that this defendant doesn't have to leave

19   Greenwood County to conduct his drug business. He didn't. He

20   used Mr. Latimer to do so. He is the record owner operator of

21   E Z Rides in Greenwood County. I would just would point out,

22   Judge, Mr. Wise asked some questions about the traveling

23   interstate commerce. It is the government's evidence that this

24   defendant used his business credit card issued by Wells Fargo

25   to fund the trip to El Paso by Mr. Latimer and Mr. Latimer's
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 1   friend.

 2                  Mr. Thomas -- the truth of the matter is Mr. Thomas

 3   was a lifelong resident of Greenwood County throughout this

 4   conspiracy. The government does not believe the defendant has

 5   provided or produced any evidence to rebut the presumption

 6   against -- against bail in this case and that he should be

 7   detained pending trial.

 8                  THE COURT:      Anything further, Mr. Wise?

 9                  MR. WISE:     Excuse me?

10                  THE COURT:      Anything further?

11                  MR. WISE:     Nothing further.

12                  THE COURT:      Okay. Anything from pretrial?

13                  PROBATION AGENT:          No, Your Honor.

14                  THE COURT:      Okay.

15                  MR. WISE:     Excuse me.

16                  THE COURT:      Yes.

17                  MR. WISE:     I think Mr. Thomas would like to make a

18   brief statement.

19                  THE COURT:      Okay. Just make sure you let your lawyer

20   knows what you're going to say first.

21                  MR. WISE:     We discussed it.

22                  THE COURT:      Okay.

23                  MR. WISE:     Before today.

24                  THE DEFENDANT:          Yeah, I just want to say I'm not in

25   denial of what's going on. And I didn’t have -- much as what
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 1   was said -- a lot of stuff that been said, I didn’t have a lot

 2   to do with a lot of stuff that they said, but I'm not in denial

 3   of my -- what I had going on in it.

 4                  THE COURT:      Right.

 5                  THE DEFENDANT:          But I just wanted say I was sorry.

 6   (Pause.)

 7                  Let me get right. (Pause.)

 8                  I don't even think can I get right.

 9                  FIRST SPEAKER FROM AUDIENCE:           Can I say something?

10                  THE DEFENDANT:          What --

11                  FIRST SPEAKER FROM AUDIENCE:           I’m his sister.

12                  MR. WISE:     Excuse me?

13                  FIRST SPEAKER FROM AUDIENCE:           I’m his sister. Can I

14   say something?

15                  MR. WISE:     Let me ask.

16                  THE DEFENDANT:          I just -- my daughter is about to

17   graduate. I've got somebody else running my business. Like he

18   said, I know I'm going to have to do some time. I just want to

19   get the house arrest to tell my kids to their face, you know,

20   to let them know what went on with me, because I don't want to

21   have to tell them through no phone.

22                  I ain't never had no passport. I ain't never flew on

23   a plane.

24                  But -- and I know I done -- I know I done caused

25   trouble in my family life and I wanted to let them know, you
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 1   know, be able to go home and let them know I know what I did,

 2   this what’s about to happen, and be able to -- be able to do my

 3   time because I've never been in no trouble before. I haven’t --

 4                  THE COURT:      Which is -- which is very unusual for

 5   somebody in your position to be involved in something like this

 6   and not have any prior history in this. And that's what --

 7   that's what my -- that’s what's causing me dilemma here

 8   today ---

 9                  THE DEFENDANT:          Yeah.

10                  THE COURT:      --- because the fact that you didn't

11   have a background doing this, but yet what you were involved in

12   was extremely dangerous.

13                  THE DEFENDANT:          Yeah. Yeah.

14                  MR. WISE:     And Your Honor, as I say, it's a big

15   disappointment to his mother.

16                  THE DEFENDANT:          Yeah. And if she -- if she really

17   knew really what was going on, she’ll know that I didn't --

18                  MR. WISE:     We'll go to that later.

19                  THE DEFENDANT:          -- you know.

20                  MR. WISE:     That's all.

21                  THE DEFENDANT:          But at the same time, Your Honor,

22   that's what I'm giving my all for, just to be able -- you can

23   restrict me to the house -- to home. And if I ever fail a drug

24   test, you can lock me back up. If I do ever violate in any type

25   of one, you can lock me right back up. But my family, they
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 1   solely, like, depend on me. And I really want to be able to,

 2   you know, talk to them and let them know what’s going on. And I

 3   promise I won't -- I won’t cause no problems.

 4                  MR. WISE:     Thank you.

 5                  THE DEFENDANT:          You know, I’m sorry about that.

 6                  MR. WISE:     But he does have people here. If you are

 7   here for Donald Thomas, would you just stand please.

 8         (The audience complies.)

 9                  MR. WISE:    He does have community support.

10                  THE COURT:      Uh-huh.

11                  MR. WISE:     Not for his activities, but for him as a

12   human being.

13                  SECOND SPEAKER FROM AUDIENCE:           And we love him and

14   we’re very proud of him.

15                  THIRD SPEAKER FROM AUDIENCE:           We love you.

16                  SECOND SPEAKER FROM AUDIENCE:           We’re very proud of

17   you, baby.

18                  FOURTH SPEAKER FROM AUDIENCE:           Yes.

19                  SECOND SPEAKER FROM AUDIENCE:           You’d never

20   disappoint me.

21                  FIRST SPEAKER FROM AUDIENCE:           When he left --

22                  THE COURT:      Yeah. If you're going to say anything,

23   we need to put you under oath to put any testimony on the

24   record. Of course, I'm going to let his mom speak. Because

25   mamas are -- mamas are special. So...
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 1                  SECOND SPEAKER FROM AUDIENCE:           Like I said, I’m very

 2   proud of you, baby. You would never disappoint me. You're the

 3   best son that anybody could ask for. I love you. We all love

 4   you. You always mean something to us. You always -- you helped

 5   so many people, and they tell me every day. They tell me how

 6   you support them when they was sick. They tell me when they are

 7   sick, you went and did things for them, which you didn't have

 8   to. So I’m very proud of you.

 9                  THE DEFENDANT:          Yes, ma'am.

10                  SECOND SPEAKER FROM AUDIENCE:           And we all make

11   mistakes. Nobody’s perfect.

12                  THE DEFENDANT:          Oh, man.

13                  MR. WISE:     And I agree with Your Honor's comment

14   that to be involved in something like this, with not even a

15   simple possession of cocaine charge, it --

16                  THE COURT:      Yeah.

17                  MR. WISE:     -- and, you know, his mother has been to

18   see me several times and we’ve talked about it. It's just --

19   it’s just a big inconsistency.

20                  THE COURT:      Yeah.

21                  MS. WASHINGTON:          Judge, obviously, I have to add. I

22   don’t disagree with anything the family has said ---

23                  THE COURT:      Right.

24                  MS. WASHINGTON:          --- but this conduct occurred over

25   a period of time. This was not one instance or -- cannot be
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 1   considered aberrant behavior on this defendant’s part. I don't

 2   doubt that he may be a good person, but what -- the

 3   government's interested in providing just punishment and

 4   addressing the conduct.

 5                  THE COURT:      Right. Anything further from pretrial?

 6                  PROBATION AGENT:         No, Your Honor.

 7                  THE COURT:      Okay. What I'm going to do today is: I'm

 8   going to deny the government's motion for detention, but I am

 9   going to set bond at $100,000 secured, standard conditions,

10   with house arrest and location monitoring, which will be GPS

11   monitoring. If he’s able to make that bond, then we’ll

12   reconvene to make sure that residence is confirmed.

13                  Mr. Thomas, I hope you don't prove me wrong here. Do

14   you under -- if you could look at me while I'm talking to you.

15   I hope you do not prove me wrong. I believe you when you say

16   that you will not go back out and do this again or get back

17   involved in this. If you do, we won't even have a hearing. If I

18   hear anything from probation or the government that you’ve gone

19   back out and gotten back involved in this -- this activity -- I

20   hope that you are telling your mother the truth ---

21                  THE DEFENDANT:          Yeah, I am.

22                  THE COURT:      --- that you will not do this again.

23                  THE DEFENDANT:          I am. Thank you.

24                  MS. WASHINGTON:          Your Honor, I just want to put the

25   Court and the defendant on notice that the government’s going
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 1   to inquire as to the source of any property or funds used to

 2   secure any bond that’s executed in this case. The government

 3   put other defendants on notice that any property that’s

 4   outstanding and any attempt to dissipate or transfer or hide

 5   such property is going to be considered obstruction of justice,

 6   and that applies to Mr. Thomas, too.

 7                  MR. WISE:     On that, I would add, too, Your Honor, is

 8   that if we’re going to reconvene, formally do it, I'm going to

 9   be out of town Wednesday through the rest of this week. So it

10   would be --

11                  THE COURT:      That's fine.

12                  MR. WISE:     -- it would have to be some time next

13   week.

14                  THE COURT:      That’s fine. I just want probation ---

15                  MR. WISE:     Right.

16                  THE COURT:      --- to be able to confirm an address and

17   make sure that location monitoring can be set up.

18                  MR. WISE:     Okay.

19                  THE COURT:      So if you're not here, it's okay with

20   me, as long as it's okay with --

21                  MR. WISE:     Okay. You had talked about reconvening

22   though, I gathered, and come back before you.

23                  THE COURT:      Right. Right. I’ve set conditions today,

24   however.

25                  MR. WISE:     All right. Okay.
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 1                  THE COURT:      But I just need probation to be able to

 2   confirm wherever he's going to live, so that monitoring can be

 3   set up.

 4                  MR. WISE:     Okay.

 5                  THE COURT:      Just make sure you go over conditions of

 6   bond so that he understands what ---

 7                  MR. WISE:     Please do.

 8                  THE COURT:      --- violations are.

 9                  MR. WISE:     Please do. We won't have a dispute on it.

10                  MS. WASHINGTON:         Judge, it would also be helpful if

11   Mr. Wise can document the source of the property or funds that

12   you intend to be used to secure any bond.

13                  THE COURT:      Just so we don't have any issues.

14                  MR. WISE:     We won't have any issues.

15                  THE COURT:      Mr. Wise, do you understand what the

16   government’s saying? You understand what the government’s

17   position is?

18                  MR. WISE:     I do. I do. There shouldn't be an issue

19   on that.

20                  THE COURT:      Okay. Anything further?

21                  MS. WASHINGTON:         Nothing from the government.

22                  MR. WISE:     You’re going to go over the conditions of

23   the bond?

24                  THE COURT:      Well, I want you to go over the

25   conditions of bond ---
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 1                  MR. WISE:     Okay. Okay.

 2                  THE COURT:      --- with him. Just make sure he

 3   understands what they are.

 4                  MR. WISE:     I will.

 5                  THE COURT:      I’m not sure if there is any order in

 6   this case that co-defendants not communicate with each other.

 7                  MR. WISE:     There really isn't, and that can create

 8   one little problem. A co-defendant, who’s way down on the list,

 9   has been helping him in his business even before this started.

10   And she lives in Simpsonville and drives down occasionally, so

11   it's not like they're going to be in the same house. So that

12   may be the only rub. The rest of the defendants, no problem

13   whatsoever.

14                  MS. WASHINGTON:         Your Honor, it’s also my

15   information that Demetris Goode, formally an employee of

16   E Z Rides continues operate -- or helps operate Mr. Thomas's

17   business.

18                  MR. WISE:     Uh-huh.

19                  MS. WASHINGTON:         Judge, the defendant is facing --

20   is waiting sentencing before Judge Cain. He's released on bond.

21   His sentencing was scheduled last week and was continued for a

22   short time. The government would ask the Court to make a

23   condition of Mr. Thomas's bond that he also have no contact

24   with Mr. Goode and others similarly situated, not just

25   co-defendants in this case.
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 1                  THE COURT:      Is that going to be an issue?

 2                  MR. WISE:     That’s no problem.

 3                  THE COURT:      Mr. Thomas, is that going to be an

 4   issue?

 5                  MR. WISE:     No, ma'am.

 6                  MS. WASHINGTON:          No contact direct or indirect.

 7   Sorry.

 8                  THE COURT:      Okay.

 9                  MR. WISE:     We’ll just -- that’ll just make it

10   cleaner.

11                  THE COURT:      Okay. So as a condition -- an additional

12   condition of your bond would be that you have no contact

13   directly or indirectly with any other co-defendants in this

14   case.

15                  MR. WISE:     Yes, ma'am.

16                  THE DEFENDANT:          Yes, ma'am.

17                  THE COURT:      Okay. Anything further?

18                  MS. WASHINGTON:          Not at this time, Judge.

19                  THE COURT:      Okay. Thank you very much.

20                  MR. WISE:     Thank you.

21           (Court is adjourned at 12:04 p.m.)

22

23

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 1                                          ***

 2         I certify that the foregoing is a correct transcript from

 3   the record of proceedings in the above-entitled matter.

 4

 5    /s/ Teresa B. Johnson                                  May 7, 2019

 6   Teresa B. Johnson, CVR-M-CM, RVR, RVR-M                   Date

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